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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

JOHN ERIN BINNS )
)
Plaintiff. )
)
Vs. )
)
CENTRAL INTELLIGENCE AGENCY __ )
WASHINGTON DC, 20505 )
) Case No: 1:20-cv-01896 (UNA)
kbo-Isar-Amper-Klinikum Taufkirchen )
Brauhausstrasse 5 )
Taufkirchen (Vils) )
GERMANY, 84416 )
)
AZAIAH CHADRICK CROSSWHITE _)
643 S Soto St, )
LOS ANGELES CA, 90023 )
)
Defendants. )
FIRST AMENDED COMPLAINT

1. This is an action under 42 USC § 1985 (conspiracy against rights). Plaintiff John Erin

Binns challenges attempts by the Central Intelligence Agency (“CIA”) to get Plaintiff

extra-judicially killed by the Republic of Turkey by falsely communicating to Turkey’s

National Intelligence Organization (“MIT”) that Plaintiff was a supporter or member of

the Islamic State (“ISIS”). jess Mititoom

 

 

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AP

 

“Angela D, Caesar, Clerk of Court
US. District Court, District of Columbia

 

   

 
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JURISDICTION AND VENUE

3. The court has jurisdiction over this action pursuant to 28 USC § 1331. Venue lies in

this district under 28 USC § 1391.

PARTIES
4. Plaintiff John Erin Binns is a 20 year old ISIS terror suspect and resident of Izmir,

Turkey. Plaintiff is also a US citizen.

5. Defendant CIA is an agency within the meaning of 5 USC 8 552(f)

FACTS
6. On October 11, 2017, Arthur Gong from the US Department of Homeland Security
interrogated Plaintiff at London Heathrow Airport about his alleged travel to Syria while

Plaintiff was preparing to board a flight to Chicago International Airport.

7. In 2017, the Federal Bureau of Investigation (“FBI”) opened a terrorism investigation
against Plaintiff and transmitted a request for information on his border crossings

through the Europol Information System and INTERPOL to sixteen countries in Europe.

 

 
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’ 8. In early 2018, Plaintiff left the United States and moved to Izmir, Turkey. The FBI

then requested that the CIA conduct surveillance against Plaintiff due to his alleged ties

to international terrorism.

9. The CIA not only had Plaintiff placed under physical and electronic surveillance by
Turkey’s MIT, but sent contractors to Plaintiff’s neighborhood who would do the same.
Plaintiff saw these contractors in vacant apartments belonging to Turkish citizens on
several occasions. The owners of the apartments were either on vacation or the units
were undergoing renovation while this surveillance was ongoing. The CIA contractors
were not authorized to enter these units and likely broke in using lock-picking tools,

violating Turkish law. Sometimes, the CIA contractors would be wearing night vision

goggles.

10. One of Plaintiff’s friends, Kenneth Currin Schuchman, was recruited as an FBI
Confidential Human Source and CIA informant. According to information obtained from
one of Plaintiff’s sources, Schuchman was given a pound of heroin by CIA officers in

2018 to inform on Plaintiff.

11. Schuchman tried entrapping Plaintiff into buying Stinger missiles and guns from a
Tor website operated by the FBI, and attempted to have Plaintiff visit a website

containing a software exploit.

 

 
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12. In 2018, Plaintiff’s cellular phone was hacked using a zero-day exploit by MIT and

GPS tracking spyware was silently installed on the device.

13. According to Imperva, a zero-day (Oday) exploit is: “a cyber attack targeting a
software vulnerability which is unknown to the software vendor or to antivirus vendors.
The attacker spots the software vulnerability before any parties interested in mitigating

it, quickly creates an exploit, and uses it for an attack”.

14. MIT used the GPS tracking spyware installed on Plaintiff’s cellular phone to
summon individuals who would scream death threats at Plaintiff (“gangstalkers”) to
Plaintiff’s location. Plaintiff received over 100 death threats from different gangstalkers
in the span of a few months. During some incidents, a flash mob of three to six
gangstalkers would block the sidewalk while screaming death threats at Plaintiff and

threatening to hit him.

15. Plaintiff was the victim of intense harassment using microwave directed energy
devices by CIA contractors. On one occasion, Plaintiff was in his bedroom and observed
a man pointing a microwave oven with no door at his body. On another occasion,

Plaintiff saw a male CIA contractor pointing a microwave magnetron with a metal horn

 
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‘ at his body. While this was happening, Plaintiff felt a burning and shocking sensation

over his entire body.

16. Plaintiff was harassed with psychotronic weapons by CIA contractors. A
psychotronic weapon typically consists of a transmitter outputting an RF signal
modulated with an extremely low frequency (“ELF”) sine wave signal, a microwave
amplifier in the SHF/EHF frequency range, and a waveguide. The operator of the
weapon can speed up the victim’s heart rate or cause the victim to have panic attacks by
using different ELF modulation frequencies. On several occasions, Plaintiff felt a
burning sensation on his neck and observed CIA contractors using a brick shaped

psychotronic weapon with a cord and buttons on his head.

17. CIA contractors recorded a video of Plaintiff from a balcony while he was naked.
Azaiah Crosswhite, a CIA informant and FBI Confidential Human Source, then
attempted to blackmail Plaintiff into working as a CIA agent using this video. Kenneth
Currin Schuchman had bragged about seeing this video to one of Plaintiff’s friends in

2018.

18. Plaintiff was assigned code name “RAVEN” by the CIA.

 
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' 19. Plaintiff was encouraged to commit violent acts such as murder or a mass shooting

by Azaiah Crosswhite. Plaintiff has never planned on committing and will not commit
any violent acts. Azaiah Crosswhite also encouraged Plaintiff to kill himself on multiple

occasions.

20. On July 1, 2019, Plaintiff was the target of an extrajudicial killing by MIT in Konak,
Izmir, Turkey, as officers of the CIA had falsely communicated to MIT that Plaintiff was

a member or supporter of ISIS.

21. Plaintiff hid in Alsancak Nevvar Salih Isgoren Hospital from Turkish state-sponsored
hitmen, and Plaintiff’s name appeared in an unknown anti-terrorism database connected
to the emergency room computer. The name of Azaiah Crosswhite, an FBI confidential
human source and CIA informant also appeared in the database, and the hospital doctors
were talking about the fact that Crosswhite’s name appeared on the emergency room

computers, and that Plaintiff’s name showed up in the database as “Cock Sucker”.

22. The emergency room doctors called the Turkish police, four police cars then came to

the hospital and the police interrogated Plaintiff.

23. On July 6, 2019, Plaintiff was abducted from the Munich Airport police station by

fake Bavarian State Police officers (MIT agents) and taken to an unauthorized black site

 
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’ for ISIS suspects (a fake mental hospital building) located at 48.345941, 12.137753 on

the territory of Germany (“KBO Haus 10”). Numerous other abductions have occurred
near Munich, Germany, in which Turkish citizen terror suspects were kidnapped by MIT

agents and taken to the gas room of KBO Haus 10 for brain damage.

24. The MIT agent, a fake Bavarian State Police officer who came with Plaintiff in the

ambulance to KBO Haus 10, told the staff at the facility to fry Plaintiff’s brain with gas.

25. Plaintiff was put in the suicide watch room/neurotoxic gas room (See Exhibit A), and
a staff member activated a metal fan emitting a substance smelling similar to

formaldehyde.

26. After Plaintiff would have successfully been given brain damage using the
neurotoxic gas room, Delta Force was going to extraordinary render Plaintiff in a covert
action from an American military base to Anchorage International Airport to face trial on
fabricated federal charges. The CIA’s plan was to have Plaintiff found mentally
incompetent and have him forced into a plea deal for over 10 years in prison. This covert

action was eventually cancelled.

 
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27. Plaintiff’s time in the neurotoxic gas room of KBO Haus 10 was recorded and live-

streamed to CIA informants, including Azaiah Crosswhite, as a “destruction video” over

the internet anonymity service Tor.

28. Neurotoxic gas rooms are used by intelligence agencies worldwide, including the
CIA, against terror suspects and individuals who learn government secrets, to give the
target permanent brain damage and schizophrenia. The target is usually taken to a fake
mental hospital operated by an intelligence agency, where they are put in a gas room for

several hours.

UNT I - CONSPIRA AINST RIGHTS — CIA

29. This Count re-alleges and incorporates by reference all of the preceding paragraphs.

30. Unknown officers of the Central Intelligence Agency knowingly falsely
communicated to the Republic of Turkey that Plaintiff was a member or supporter of
ISIS and instructed MIT to target Plaintiff in an extrajudicial killing, in violation of the
Fifth Amendment’s due process clause: “No person shall [...] be deprived of life, liberty,

or property, without due process of law.”.

C I] - INTENTIONAL INFLICTION OF EMOTIONAL DI = -

Isar- er-Klinikum fkirchen

 

 
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31. This Count re-alleges and incorporates by reference all of the preceding paragraphs.

32. During Plaintiff’s time at the facility, staff members would play tape loops of
Turkish words such as “gerizekali”, which translates to “mentally retarded” in English,

over a loudspeaker.

33. One staff member would point to an image of a man with down syndrome ina
newspaper and say something to the effect of “this is you, it’s finished, it’s over”, after

Plaintiff was released from the neurotoxic gas room of KBO Haus 10.

34. Another staff member would use a brick shaped psychotronic weapon to give

Plaintiff epileptic seizures.

35, The conduct by the staff members at KBO Haus 10 was extreme and outrageous.

COUNT II _- INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS —

AZAIAH CHADRICK CR ITE

36. This Count re-alleges and incorporates by reference all of the preceding paragraphs.

37. On multiple occasions in 2018 and 2019, Azaiah Crosswhite, a CIA informant,

posted pictures of Plaintiff that were taken while he was in his bedroom by CIA

 
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“contractors on his Snapchat profile. Crosswhite did this to gaslight, intimidate, and

inflict emotional distress on Plaintiff.

PRAYER FOR RELIEF
WHEREFORE, Plaintiff respectfully requests that this Court:

(1) Order Defendant CIA to cease falsely communicating to foreign countries that
Plaintiff is a member or supporter of ISIS.

(2) Order Defendant kbo-Isar-Amper-Klinikum Taufkirchen to pay one hundred
thousand dollars ($100,000) in damages for intentionally inflicting emotional distress on
Plaintiff.

(3) Order Defendant Azaiah Crosswhite to pay one hundred thousand dollars ($100,000)
in damages for intentionally inflicting emotional distress on Plaintiff.

(4) Grant any further relief as this court may deem just and proper.

Respectfully submitted,
John Erin Binns
1775/4 Sk No 3/1
Karsiyaka, Izmir
35580
Turkey

binnsjohn84@gmail.com
+905488575356

s/ John Erin Binns

 
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EXHIBIT A
Kamera zur Aufnahme von "Zerstérungsvideos" fiir Geheimdienstpsychopathen

Location: 48.346156, 12.137772
In der Nahe von Taufkirchen / Vils, Deutschland

Verschlossene Tur
Ventilator

eS
Ventilator mit Formaldehyde/Neurotoxin -> if s
| fa |

Nicht autorisierte schwarze Statte des tiirkischen
Geheimdienstes auf deutschem Gebiet (gefalschte
psychiatrische Klinik)

 
